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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER GRANTING MOTION FOR
                                                  SUMMARY JUDGEMENT
   McCurry v. Monsanto Co.,
   Case No. 3:24-cv-01623-VC                      Re: Dkt. No. 20706



       Monsanto has filed a motion for summary judgment in the above case because McCurry

has failed to produce an expert for specific causation. McCurry has not submitted a response, and

the opposition deadline has passed. Accordingly, the motion is granted.

       Judgment is entered in Monsanto’s favor.

       IT IS SO ORDERED.

Dated: July 9, 2025
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
